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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 COURTNEY HEBERT,                             *     CIVIL ACTION NO. ________
 INDIVIDUALLY AS SOLE                         *
 BENEFICIARY OF THE COURTNEY                  *     SECTION “_” – DIVISION _
 HEBERT IRREVOCABLE TRUST                     *
 AND ON BEHALF OF THE                               JUDGE ____
 COURTNEY HEBERT                              *
 IRREVOCABLE TRUST                                  MAGISTRATE JUDGE _____
                                              *
                Plaintiff
                                              *
 VERSUS
                                              *
                                     *
 RICHARD J. HEBERT, RICHARD J.
 TOMENY, JR., LILLIAN LUCILLE        *
 LOCICERO, AND FIRST NBC, A
 CORPORATION LICENSED TO DO          *
 AND DOING BUSINESS IN THE
 STATE OF LOUISIANA
                   Defendants
 * * * * * * * * * * * * * * * * * *

        NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF LOUISIANA

TO:    The Honorable Judge of the United States District Court for the Eastern District of
       Louisiana.

       NOW COMES, Federal Deposit Insurance Corporation (“FDIC-R”) as Receiver for First

NBC Bank, New Orleans, Louisiana (“FNBC”), and pursuant to 12 U.S.C. § 1819(b)(2)(B) and

28 U.S.C. § 1441, notices the removal of the case styled Courtney Hebert, Individually and as Sole

Beneficiary of the Courtney Hebert Irrevocable Trust and on Behalf of the Courtney Hebert

Irrevocable Trust, No. 2016-09632, Division “M,” Section 13, currently pending in the Civil

District Court for the Parish of Orleans, State of Louisiana, (“State Court Action”) to the United

States District Court for the Eastern District of Louisiana, on the grounds that the recent
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substitution of FDIC-R for FNBC, as a party, provides removal authority and federal court

jurisdiction as shall be more fully described below.

                                         BRIEF FACTS

       1.      On or about September 20, 2016, Plaintiff Courtney Hebert (“Ms. Hebert”) filed a

Petition for Recovery of Diverted and Converted Trust Funds, for Breach of Fiduciary Duty to a

Trust and Its Beneficiary and for Declaratory Judgment that the Movable Property Converted from

the Trust Should Be Declared the Property of the Beneficiary, for Unjust Enrichment, for

Revendicatory Action and for Damages (the “Petition”) against Richard J. Hebert, Richard J.

Tomeny, Jr., Lillian Lucille LoCicero and “First National Bank of Commerce” in the Civil District

Court for the Parish of Orleans, State of Louisiana. Ms. Hebert’s Petition averred that Marsha

Crowle, a previous registered agent for service of process for FNBC, was the registered agent for

service of process of First National Bank of Commerce. Thus, FDIC-R substitutes as a party herein

only to the extent that “First National Bank of Commerce” is intended to refer to FNBC.

       2.      The Petition seeks unspecified damages against FNBC.

       3.      On April 28, 2017, the Louisiana Office of Financial Institutions, through John

Ducrest, Commissioner, in the matter styled In re First NBC Bank, New Orleans, LA, a Louisiana

Bank, No. 17-4057, Civil District Court for the Parish of Orleans, filed a Motion to Close and

Liquidate FNBC and to Confirm Appointment of Receiver. A copy of that motion is attached

hereto as part of Exhibit “A”.

       4.      Pursuant to an Order dated April 28, 2017, FDIC-R was named the Receiver of

FNBC. A copy of the Order appointing FDIC-R is attached hereto as part of Exhibit “A”.

       5.      By letter dated April 28, 2017, FDIC-R accepted appointment as Receiver for

FNBC. A copy of that letter is attached as Exhibit “B”.




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       6.      Pursuant to both Louisiana Revised Statutes § 6:383 and 12 U.S.C. § 1821(c)(3)(A),

FDIC-R has succeeded to all rights, titles, powers and privileges of FNBC.

       7.      On May 7, 2019, FDIC-R was substituted as Defendant in the State Court Action

in FNBC”s stead. A copy of the Notice of Substitution of Parties reflecting the substitution of

FDIC-R as Receiver and party to the State Court Action is attached as Exhibit “C”.

                      BASIS FOR REMOVAL TO FEDERAL COURT

       8.      The instant notice of removal is brought in part, pursuant to 28 U.S.C. § 1441(b),

which provides in pertinent part:

       Any civil action of which the district court has original jurisdiction founded on a
       claim or right arising under the constitution, treaties, or laws of the United States
       shall be removable without regard to the citizenship or residence of the parties.

       9.      Any civil suit in which FDIC-R, in any capacity, is a party is “deemed to arise under

the laws of the United States.” 12 U.S.C. § 1819(b)(2)(A); see also Buckner v. FDIC, 981 F.2d

816, 819 (5th Cir. 1993); Bullion Servs., Inc. v. Valley State Bank, 50 F.3d 705, 707(9th Cir. 1995).

       10.     Further, FDIC-R has statutory rights to remove the cases in which it is a party from

state court to federal court pursuant to 12 U.S.C. §1819 (b)(2)(B), which provides in pertinent part:

       Except as provided in subsection (D) the Corporation may without bond or security,
       remove any action, suit or proceeding from a state court to the appropriate United
       States District Court before the end of the ninety (90) day period beginning on the
       date the action, suit, or proceeding is filed against a corporation or the corporation
       is substituted as a party.

       11.     The instant Notice of Removal is being brought within the ninety (90) day period

from the date FDIC-R was substituted as a party in the State Court Action.

       12.     Since FDIC-R is now a party to the State Court Action, the entire State Court Action

can be removed to the United States District Court for the Eastern District of Louisiana.




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        13.     FDIC-R has promptly served notice of the filing of this removal to all parties of

record in the State Court Action, and to the clerk of the Civil District Court for the Parish of Orleans,

State of Louisiana, pursuant to 28 U.S.C. §1446(d).

        14.     Venue properly lies with this Court pursuant to 28 U.S.C. §1441(a) and §1446(a),

as the action is presently pending in the Civil District Court for the Parish of Orleans, State of

Louisiana.

        15.     Copies of all process, pleadings and orders filed in the State Court Action are

attached to this Notice of Removal as required by 28 U.S.C. §1446(a). See Exhibit “D” in globo.

        WHEREFORE, FDIC-R respectfully requests that this Court accept the removal of this

action from State Court and direct that the Civil District Court of the Parish of Orleans, State of

Louisiana, shall have no further jurisdiction over this matter.

                                                Respectfully submitted,

                                                /s/ James M. Garner
                                                LEOPOLD Z. SHER (#12014)
                                                JAMES M. GARNER (#19589)
                                                JACOB A. AIREY (#27933)
                                                BRANDON W. KEAY (#36528)
                                                SHER GARNER CAHILL RICHTER KLEIN &
                                                     HILBERT, L.L.C.
                                                909 Poydras Street, Twenty-Eighth Floor
                                                New Orleans, Louisiana 70112
                                                Telephone: (504) 299-2100
                                                Facsimile: (504) 299-2300
                                                Email: lsher@shergarner.com
                                                       jgarner@shergarner.com
                                                       jairey@shergarner.com
                                                       bkeay@shergarner.com

                                                ATTORNEYS FOR FEDERAL DEPOSIT
                                                INSURANCE CORPORATION AS RECEIVER
                                                FOR FIRST NBC BANK




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 7, 2019, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system, which will send a Notice of Electronic Filing

to all counsel of record who have registered to receive electronic service, and I effected service

upon all other counsel of record by depositing same in the United States Mail, postage prepaid and

properly addressed.


                                             /s/ Brandon W. Keay
                                             BRANDON W. KEAY




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